                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      NO. 5:19-CR-00022(4)-MOC-DSC


 UNITED STATES OF AMERICA
                                                      DEFENDANT’S
              v.                                SENTENCING MEMORANDUM

 ROBERT CANNON HAYES


      Defendant Robert Cannon “Robin” Hayes, through counsel and pursuant to 18

U.S.C. § 3553(a) and Fed. R. Crim. P. 32(i)(1)(C), respectfully submits this

Memorandum with regard to sentencing.

                                  INTRODUCTION

      Robin Hayes is a loving husband, father, and grandfather; a selfless friend;

and a lifelong public servant. He has lived a life in quiet service of others, and he has

achieved much through hard work and compassion.

      The Sentencing Guidelines for the offense in this case yield a sentencing range

of zero to six months. ECF No. 106, Presentence Investigation Report ¶ 49. That

range is within Zone A of the Sentencing Table, so “a sentence of imprisonment is not

required.” Id. The Plea Agreement also provides that zero to six months is the

appropriate range, and that the government will recommend a sentence at the low

end of the range. ECF No. 70, Plea Agreement ¶ 8(b)-(c). Accordingly, and based on

the factors prescribed by Section 3553(a), Mr. Hayes respectfully submits that a

sentence of probation would be sufficient but not greater than necessary to serve the

purposes of sentencing.




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         HISTORY AND CHARACTERISTICS OF THE DEFENDANT

      Mr. Hayes is, above all else, a family man. He is a loving husband to his wife

of fifty-two years, Barbara; a devoted father to his two children, Winslow and Bob;

and a beloved grandfather to his seven grandchildren.

      Family lies at the center of all he does, and he is at the center of his family’s

lives. His daughter, Winslow, lives next door. His son, Bob, is his best friend and

business partner. He taught his grandchildren how to hunt, how to clean a fish, and

(for those old enough) how to drive a car. He is at virtually every grandchild’s football

game, basketball game, baseball game, and school play. As his daughter has said, he

is his family’s “moral compass” and its “spiritual leader.” No matter what professional

or personal obligations demand his attention, he prioritizes being there for his family.

      “Family” to Robin Hayes, however, means much more than just blood relatives.

As each would attest, Mr. Hayes’s “family” encompasses friends, neighbors,

colleagues, church members, community members, and virtually anyone who crosses

his path. He has opened his heart and his home to neighborhood kids, exchange

students, veterans, former staffers, and those who would be mere acquaintances to

anyone else.

      “Being there for family” also means more than just physical presence. To Mr.

Hayes, it means doing anything and everything he can to help those in his life. Mr.

Hayes gives generously—of himself, his time, his attention, and his resources—

without any expectation of recognition or return. He has given the clothes off his back

and the food off his table. He has been there to counsel and console friends through

loss, grief, anger, and doubt. He has been there to support family and friends


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confronting illness, job loss, spiritual upheaval, and economic uncertainty. As one of

his former staffers wrote:

           I find Robin’s kindness to be distinct. He gives so much and never
           asks for anything in return. . . . Robin is a genuinely selfless
           friend. He has a huge heart and a charitable soul. He makes
           extraordinary kindness feel routine.

These qualities inspire all who encounter him to hold him close. As one friend wrote:

“I consider [Robin Hayes] one of my very best friends, but so does everyone who knows

him.”

        Mr. Hayes has lived a life guided by faith, compassion, and quiet service of

others. After graduating from Concord High School, he attended Duke University.

Following graduation in 1967, he returned to the family company—Cannon Mills in

Kannapolis—where he had worked summers. He worked his way through every

department, ultimately making it to the front office in 1971, just a few months before

his grandfather, the company’s chairman, passed away.

        After the loss of his grandfather, Mr. Hayes left the family business and

became a sales manager for a company out of Chicago. After a few years in that

position, he founded a construction and landscaping business in Cabarrus County.

He built that company from a small, two-bulldozer operation to a successful

enterprise employing approximately 25 people.

        In 1978, Mr. Hayes began what would be over four decades of public service,

as a member of the Concord City Council. While on the Council, he discovered a

passion for prison ministry. A dedicated volunteer and later chair of the state board

of Prison Fellowship, Mr. Hayes has devoted substantial time and resources to


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providing housing, employment, and support to former inmates as they transition

back into their communities.

      After leaving the Council, he and Barbara took their young family to live a

tough winter on the north shores of Alaska, beyond the Arctic Circle near Prudhoe

Bay. Mr. Hayes worked for a local fisherman, and Barbara homeschooled Bob and

Winslow.

      In 1992, Mr. Hayes was elected to the North Carolina House of

Representatives. During his two terms, from 1993 to 1996, Mr. Hayes worked hard

to support his constituents and colleagues on both sides of the aisle, serving as the

first Republican majority whip in North Carolina history and also serving on the

board of Governor Jim Hunt’s Smart Start initiative. In 1996, he served as the

Republican Party’s nominee for governor, but he lost to incumbent Hunt.

      In 1998, Mr. Hayes was elected to Congress, where he represented North

Carolina’s 8th District in the House of Representatives. Among the many issues on

which he advocated for his constituents—including agriculture and transportation—

particularly close to his heart were the soldiers and families of the 82nd Airborne and

Special Operations forces at Fort Bragg. As a member of the House Armed Services

Committee, helping steer the country’s response to the attacks of September 11, 2001,

Mr. Hayes dedicated tremendous energy and attention to ensuring that military men

and women were well equipped, cared for, and supported at home and abroad. A

regular on the manifest to visit troops overseas and someone who welcomed veterans




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in need into his home, Mr. Hayes received the National Military Family Association’s

Support of Military Families Award in 2003. One retired general stated it best:

          [I]n my forty years of service to our Nation, I have yet to meet a
          man of character, endurance and integrity as that of Robin Hayes.
          . . . [B]oth myself and my extended Family of thousands of
          Marines and their families, have had our lives so vastly supported
          and improved because of Robin Hayes.

      After five terms in Congress, Mr. Hayes was asked to serve as Chair of the

North Carolina Republican Party in 2011. He retired from that position in 2013 but

was called out of retirement in 2016 to help the party recover from several years of

inadequate funding. Mr. Hayes served as an unpaid volunteer.

      In 2017, the party elected Mr. Hayes to a second two-year term, which he

served until 2019. During his second term as Chair, Mr. Hayes also served as the

Chair of the National Council of Republican Party Chairs, coordinating the efforts of

leaders in all 50 states.

      After this case was filed, Mr. Hayes resigned from his position as party chair.

He also stepped down from the board of directors of the Cannon Foundation—the

charitable organization founded by his grandfather to support higher education,

advance healthcare, combat violence and poverty, and promote community. But he

has not stopped serving. Mr. Hayes continues his volunteer work, striving to secure

funding for three facilities that provide substance-abuse recovery services—Bridge to

Recovery in Monroe, Brunswick Christian Recovery Center in Ash, and Freedom

Farm Ministries in Boone. He also is working with the Concord First Assembly

Church to provide support, direction, guidance, and housing for former inmates



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transitioning back into the community, as well as with the Cabarrus Cooperative

Christian Ministry to secure funding for persons displaced by the COVID-19

pandemic.

      Even in retirement, Mr. Hayes continues to live his life the way he always has:

in quiet service of others. In the words of one, “[t]his is Robin in his most genuine

form—a man of integrity, compassion and faith, who consistently strives to be a better

version of himself.”

            NATURE AND CIRCUMSTANCES OF THE OFFENSE

      Mr. Hayes will regret lying to the FBI for the rest of his life. Regarding the

nature and circumstances of the offense, counsel respectfully observes that its impact

on the FBI’s investigation was minimal. The FBI knew the answers to its questions,

because it had them on tape. Mr. Hayes, however, has accepted responsibility and

cooperated with the government.1 He deeply regrets that his actions were contrary to

the principles by which he has lived his life and which he and Barbara have

attempted to instill in their children and grandchildren.

                            SENTENCING FACTORS

      Mr. Hayes does not need to be deterred from further criminal activity. He has

fully accepted responsibility for his offense, he will celebrate his 75th birthday this

summer, and his life both before and since his arrest has demonstrated that his

actions here were aberrant and out of character. He will not repeat them.




      1Mr. Hayes was under subpoena to testify at the trial of his co-defendants, and
he prepared earnestly for the possibility he would be called.


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       Moreover, regardless of any sentence this Court will impose, Mr. Hayes’s

prosecution and guilty plea have exacted profound penalties that will live with him

for the rest of his life. He had to resign as the leader of the party he served for decades.

He had to step down after over thirty years on the board of directors of the Cannon

Foundation—an organization founded by his grandfather and previously led by his

mother. An avid lifelong hunter, who cherished hunting with his children and

grandchildren, he now is a felon prohibited from possessing a firearm. And he has

experienced a very public fall from grace. No separate punishment would exceed the

gravity of those consequences of his conviction, but he has acknowledged his

wrongdoing and accepted them.

       Likewise, there is no need to protect the public from Mr. Hayes. His offense

arose from his position at the helm of the North Carolina Republican Party, a position

he no longer holds. What is more, Mr. Hayes has never been a risk to the community,

but a credit to it. As reflected in the numerous letters of support by those who have

known him as a man of kindness, compassion, and generosity, Mr. Hayes has lived a

life of service. As one person wrote: “In the depths of his soul, he is a compassionate

worker who simply wants to make a positive difference in the lives of others.”

       Taken individually, Mr. Hayes’s daily acts are unremarkable except to those

they impact directly. But whether he is bringing watermelons to the local high school

football practice, driving students with the Fellowship of Christian Athletes to their

retreats at Black Mountain, consoling a former colleague whose wife is ill, helping




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facilitate treatment for someone at a local hospital, or delivering Christmas gifts to

people in need, Mr. Hayes leaves his community better for his engagement.

      Mr. Hayes does not need rehabilitative services in order to contribute to

society. He does not require vocational training, having retired from a long career in

business and public office. He does not need healthcare, being in good health for his

age and in good spirits. And, far from needing substance-abuse treatment himself, he

actually is striving to expand access to such treatment at recovery centers across

North Carolina.

      On the other hand, the health crisis caused by the COVID-19 pandemic further

counsels against incarceration. Mr. Hayes is healthy, but he will turn 75 on August

14. He faces a far greater risk than most people of serious complications from the

coronavirus. As the CDC recommends, keeping him safely distant from others is a

high priority, and that would be impossible in a custodial setting.2




      2  See generally Ctrs. for Disease Control and Prevention, Coronavirus Disease
2019 (COVID-19): Take Extra Precautions, Older Adults, https://www.cdc.gov
/coronavirus/2019-ncov/need-extra-precautions/older-adults.html (last visited June
4, 2020) (advising that adults over the age of 65 are at greater risk of developing
serious complications from COVID-19, have constituted eight out of ten COVID-19
deaths in the United States, and should “stay home if possible” and “stay 6 feet away”
from others); Ctrs. for Disease Control and Prevention, Interim Guidance on
Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention
Facilities, https://bit.ly/2M9IF6a (last visited June 4, 2020) (recognizing that
correctional and detention facilities present “unique challenges for control of COVID-
19 transmission,” due to the fact that individuals “live, work, eat, study, and recreate
within congregate environments”).


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      COVID-19 has spread rapidly through jail and prison populations.3 Courts,

public officials, and law enforcement leaders across the country have sought to reduce

prison populations, release at-risk inmates, and divert detainees to non-incarceration

options in order to curb the spread of the virus and protect inmates and officers. The

same is warranted here. No prison sentence should be a death sentence, and certainly

not one at the very lowest end of the Sentencing Table. Accordingly, the current

pandemic further militates in favor of probation.

      Finally, Section 3553(a) directs the Court to fashion a sentence that avoids

unwarranted sentencing disparities between the defendant and similarly situated

defendants. This factor, too, counsels for a probationary sentence. Mr. Hayes’s

guideline range is the lowest available—zero to six months—based on an offense level

of 4 and a criminal history category of I. Before his arrest at age 73, Mr. Hayes had

no criminal history at all, and he already has successfully served well over a year

under supervision of the probation office. Consequently, even before accounting for

his cooperation with the government, sentencing Mr. Hayes to any period of



      3  Through June 22, 2020, 6,388 federal inmates and 689 BOP staff have been
confirmed infected, and 88 have died. Fed. Bureau of Prisons, BOP: COVID-19
Update, https://www.bop.gov/coronavirus/ (last visited June 22, 2020). Widespread
testing is rare, but of inmates tested, over 70% have the virus. Michael Balsamo, Over
70% of Tested Inmates in Federal Prisons have COVID-19, AP News (Apr. 29, 2020),
https://bit.ly/2AiMjrF. In North Carolina, FCI Butner ordered mass testing for all
inmates in its low-security prison, after six inmates died in just eight days and the
facility suffered the first death of a BOP guard in the nation. Dan Kane, Butner
Federal Prison Begins Mass COVID Testing After Six Inmates Die in Eight Days,
RALEIGH NEWS & OBSERVER (June 3, 2020); Dan Kane, Correctional Officer at Federal
Prison in Butner, NC, Dies of COVID-19, RALEIGH NEWS & OBSERVER (June 3, 2020).
At Butner alone, 651 inmates and staff have confirmed active cases—to say nothing
of unconfirmed or recovered cases—and 22 have died. Supra BOP: COVID-19 Update.


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incarceration would be disproportionate to the overwhelming majority of similarly

situated defendants.4

                                   CONCLUSION

      For the foregoing reasons, Mr. Hayes respectfully submits that a term of

probation would be sufficient but not greater than necessary to serve the purposes of

sentencing.



This the 23rd day of June, 2020.

                                        /s/ Kearns Davis
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      4 According to data compiled by the United States Sentencing Commission, of
the 12,964 defendants sentenced in fiscal 2019 with a criminal history category of I
and an offense level in Zone A (i.e., 0-8), 90% of them received no prison time. Of the
249 individuals in that group who were 61 or older, 92.4% received no prison time.
See U.S. Sent’g Comm’n, Individual Offender Datafiles, Fiscal Year 2019, available
at https://www.ussc.gov/sites/default/files/zip/opafy19nid.zip.


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